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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF OHIO
                                    WESTERN DIVISION

Derek LaVonn Berry,                              :
                                                 :
               Plaintiff(s),                     :
                                                 :   Case Number: 1:18cv459
        vs.                                      :
                                                 :   Judge Susan J. Dlott
Aramark Services, Inc.,                          :
                                                 :
               Defendant(s).                     :

                                               ORDER

        The Court having been advised by counsel for the parties that the above matter has been

settled, IT IS ORDERED that this action (including all claims by all parties) is hereby

DISMISSED WITH PREJUDICE, provided that any of the parties may, upon good cause shown

not later than July 8, 2019, reopen the action if settlement is not consummated. The parties may

substitute a judgment entry contemplated by the settlement agreement upon approval of the

Court. Parties intending to preserve this Court’s jurisdiction to enforce a settlement should be

aware of Kokkonen v Guardian Life Ins. Co. Of America, 511 U.S. 375, 381-82 (1994), and

incorporate appropriate language in any substituted judgment entry.

        This Court explicitly retains jurisdiction to enforce the settlement agreement reached by

the parties.

        Each party shall bear its own costs.

        IT IS SO ORDERED.



                                                     ___s/Susan J. Dlott___________
                                                     Susan J. Dlott
                                                     United States District Court
